Case 3:19-ap-03002            Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06   Desc
                               Exhibit A - Class Notice Page 1 of 9



                           UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA


In re:
                                                         Chapter 11
BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                      Debtors            (Jointly Administered)
--------------------------------------------------------
DAVID ENGELBRECHT, JOSIAH
WILLIAMSON, GREGORY MEFFORD on behalf
of themselves and all others similarly situated,         Adversary Proceeding
                                                         No. 3:19-ap-03002
                                      Plaintiffs,

v.

BLACKJEWEL, L.L.C.,


                                      Defendants.
--------------------------------------------------------


In re:
                                                         Chapter 11
BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                      Debtors            (Jointly Administered)
--------------------------------------------------------
SHAWN ABNER, JACOB HELTON, AND BILLY
HATTON on behalf of themselves and all others
similarly situated,                                      Adversary Proceeding
                                                         No. 3:19-ap-03003
                                      Plaintiffs,

v.

BLACKJEWEL, L.L.C., REVELATION
ENERGY, LLC, LEXINGTON COAL CO., LLC,
JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                      Defendants.
--------------------------------------------------------




                                                           1
    Case 3:19-ap-03002            Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06                           Desc
                                   Exhibit A - Class Notice Page 2 of 9



                            NOTICE TO CLASS OF
    (A) THE CERTIFICATION OF THE CLASS FOR SETTLEMENT PURPOSES ONLY;
    (B) THE PROPOSED SETTLEMENT OF THE WARN ACTION; (C) A DESCRIPTION
        OF THE PROPOSED SETTLEMENT; (D) THE DATE OF THE BANKRUPTCY
       COURT HEARING FOR FINAL APPROVAL OF THE SETTLEMENT; (E) THE
     RIGHT OF EACH MEMBER OF THE CLASS TO OBJECT TO THE SETTLEMENT,
      AND TO APPEAR AT THE HEARING AT WHICH THE BANKRUPTCY COURT
     WILL CONSIDER THE FINAL APPROVAL OF THE SETTLEMENT; AND (F) THE
              RIGHT OF CLASS MEMBERS TO OPT-OUT OF THE CLASS

TO:        All persons who were employed by the Debtors, as defined below, at facilities located in
           the Central Appalachian Coal Basin in West Virginia, Virginia and Kentucky (the “Eastern
           Division”) and in the Powder River Basin in Wyoming (the “Western Division”) who
           ceased working for the Debtors on or after July 1, 2019 solely, and who do not file a timely
           request to opt-out (the “Class”).

                                                 BACKGROUND

           The Plaintiffs David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner,
     Jacob Helton, and Billy Hatton (collectively, the “Plaintiffs” or “Class Representatives”) filed a
     complaint (the “WARN Action”) against Blackjewel, L.L.C. and Revelation Energy, LLC
     (together, the “Debtors” or “Debtor-Defendants”) and Lexington Coal Co., LLC, Jeff Hoops, Sr.
     and Jeffery A. Hoops, II (together, the “Non-Debtor Defendants,” and collectively with the
     Debtor-Defendants, the “Defendants”), for allegedly failing to provide sixty (60) days’ advance
     written notice as required by the Worker Adjustment and Retraining Act, 29 U.S.C. §§ 2101, et
     seq. (the “WARN Act”), before ordering alleged mass layoffs and/or plant closings on or about
     July 1, 2019 and thereafter, and for wage and hour and other employment and employee benefits-
     related claims. The Defendants and Plaintiffs are collectively referred to herein as the “Parties,”
     or, as to each, a “Party.”

           The claims set forth in the WARN Action are disputed by the Defendants. However,
     following a Court ordered-mediation and extended settlement negotiations, conducted in good
     faith and at arms’ length, the Parties reached agreement on a compromise that will resolve the
     WARN Action titled Settlement, Release and Allowance of Claim Agreement (the “Settlement”
     or “Settlement Agreement”)1 under which the benefits described below will be provided to the
     members of the Class. All Parties, including Class Counsel (as defined below), believe the
     Settlement is fair and reasonable and that continued litigation of the WARN Action would be
     complicated, protracted and expensive and would further deplete the Debtors’ resources.

                            THE PROPOSED SETTLEMENT AGREEMENT

          The terms of the Settlement are embodied in a settlement agreement entered into between
     the Parties. The following description of the proposed Settlement, which was preliminarily
     approved by the Court on January 21, 2021, is only a summary. In the event of any discrepancy
     between this summary and the terms of the Settlement Agreement, the terms of the Settlement
1
    Unless otherwise defined herein, capitalized terms shall have the meanings given to them in the Settlement.

                                                            2
Case 3:19-ap-03002       Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06               Desc
                          Exhibit A - Class Notice Page 3 of 9



Agreement shall control. The Settlement Agreement shall become effective only if it is finally
approved by the Bankruptcy Court. You may secure a copy of the complete Settlement
Agreement from Class Counsel, Mary Olsen, at (251) 415-4978 or at the address shown for her
below. The relevant terms of the Settlement may be summarized as follows:

       SUMMARY OF THE TERMS OF THE SETTLEMENT AGREEMENT

     The Parties have agreed to certification of a class (the “Class”), for settlement purposes
only, comprised of all persons who were employed by the Debtors at facilities located in the
Eastern Division and the Western Division and who ceased working for the Debtors on or after
July 1, 2019 solely, and who do not file a timely request to opt out of the Class. The Class is
represented by David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob
Helton, and Billy Hatton (the “Class Representatives”) and Lankenau & Miller, LLP, The
Gardner Firm, P.C., Petsonk PLLC, Mountain State Justice, Inc. and Pillersdorf Law Office are
counsel to the Class (“Class Counsel”).

      Upon the Effective Date of the Settlement Agreement and in exchange for a full release of
any claims under the WARN Act and other claims asserted in the WARN Action, as specifically
described in the Settlement, (i) the Debtor-Defendants have agreed that the Class Members will
be granted a) an allowed priority claim jointly and severally against the Debtors, pursuant to 11
U.S.C. § 507(a)(4) and (a)(5) of the Bankruptcy Code, equal to sixty percent (60%) of sixty (60)
days’ of wages and benefits for each Class Member, in the aggregate amount of $12,298,601.77,
and an allowed priority wage claim under 11 U.S.C. § 507(a)(4) of the Bankruptcy Code in the
aggregate amount of $2,711,494.11 for up to eight (8) days of pay for each Class member in
resolution of their wage claims (together, the “Allowed Bankruptcy WARN and Wage Claims”),
which amount shall be subject to a statutory cap in the amount of $13,650.00 per employee
pursuant to 11 U.S.C. § 507(a)(4) of the Bankruptcy Code and (ii) the Non-Debtor Defendants
have agreed to make a cash payment of $125,000, which will be distributed from a Qualified
Settlement Fund established by the Class Counsel in accordance with the terms of the Settlement
Agreement. Pursuant to the Settlement, if approved, the Allowed Bankruptcy WARN and Wage
Claims is an allowed claim. As further explained below, it does not mean that such claim will
be paid in full and payment may or may not occur depending on numerous factors and
circumstances in the Bankruptcy Case.

      Any Class Members’ claims, or any claims filed by the United States Department of Labor
on their behalf, for benefits pursuant to Section 502(a)(1)(B) of ERISA under either (1) the
Blackjewel LLC 401(k) Plan or (2) the Self-Insured Health Plan that was in place until August
31, 2019, are not included in the scope of the Released Claims, as defined in the Settlement, and
shall not be deemed released, satisfied or expunged by operation of the Settlement Agreement.

     The distributions from the Debtors’ estates (the “Estates”) on account of the Allowed
Bankruptcy WARN and Wage Claims (the “Estates Distribution Payments”) will be made by
the Debtors in accordance with the priority scheme established by the Bankruptcy Code to a
qualified settlement fund to be established by Class Counsel in conformity with Internal Revenue
Code § 468B (the “Qualified Settlement Fund”) pursuant to written instructions to be provided
by Class Counsel. The Class acknowledges that the Allowed Bankruptcy WARN and Wage

                                               3
Case 3:19-ap-03002       Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06                Desc
                          Exhibit A - Class Notice Page 4 of 9



Claims is an allowed claim to be paid in accordance with the priority scheme established
by the Bankruptcy Code and that such claim may or may not be paid depending on the
distributions available to creditors of the Debtors’ Estates and may not be paid or funded
in full.

      The Cash Payment shall be made via wire transfer by the Non-Debtor Defendants within
five (5) business days of the Effective Date to the Qualified Settlement Fund pursuant to written
instructions to be provided by Class Counsel. The name of the Qualified Settlement Fund shall
be Engelbrecht v. Blackjewel QSF, and Class Counsel or the Administrator of the Qualified
Settlement Fund shall provide the Debtors and the Non-Debtor Defendants with a W-9 form for
the Qualified Settlement Fund to enable the Estates Distribution Payments and the Cash
Payment, respectively to the Qualified Settlement Fund.

      Class Counsel shall act as the trustee of the Qualified Settlement Fund. Class Counsel shall
cause each Class Member’s distribution to be paid from the Qualified Settlement Fund, and shall
transmit distributions via first class U.S. Mail to the Class Members at their last known address
as indicated on Amended Schedule 1 to the Settlement Agreement (or to such other address as
the Class Members may indicate to Class Counsel or which Class Counsel may locate), in
accordance with applicable law. By accepting his or her portion of the Qualified Settlement Fund,
each Class Member agrees that he or she will be solely responsible for any and all tax liabilities
stemming from the payment of his or her claim under the Settlement Agreement. The Parties
agree that the Estates Distribution Payments shall be the only payments to be made by the Debtors
under the Settlement Agreement and that the Cash Payment shall be the only payment to be made
by the Non-Debtor Defendants under the Settlement Agreement. Under no circumstances shall
the Estates or Non-Debtor Defendants be required under the Settlement to pay any sums or other
consideration in addition to the Estates Distribution Payments or Cash Payment for any purpose
whatsoever.

      In the event the amount of the Estates Distribution Payments is sufficient to make a full
payment on the Allowed Bankruptcy WARN and Wage Claims, the total amount distributed to
each Class Member on the Allowed Bankruptcy WARN and Wage Claims shall equal the
amount listed on Amended Schedule 1 to the Settlement Agreement for those claims. In the
event the amount of the Allowed Bankruptcy WARN and Wage Claims is greater than the
Estates Distribution Payments, the Class Members’ distributions shall be reduced on a pro rata
basis so all Class Members receive an equal percentage of the Estates Distribution Payments.
For the avoidance of doubt, the Class Counsel’s Fees, Class Counsel’s Expenses and the Class
Representative Service Payments are payable solely out of the Qualified Settlement Fund,
consistent with the terms of the Settlement Agreement, and such fees, expenses and payments
are included in the amount of the Allowed Bankruptcy WARN and Wage Claims as set forth in
Amended Schedule 1 to the Settlement Agreement and not in addition to such amount.

      The Class Representatives shall receive an aggregate one-time payment from the first
distribution from the Qualified Settlement Fund of $30,000, to be allocated as follows: $5,000
each to David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob Helton,
and Billy Hatton for their service in this matter (together, the “Class Representative Service
Payments”). Class Counsel shall distribute this payment to the Class Representatives, in addition


                                               4
    Case 3:19-ap-03002        Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06                        Desc
                               Exhibit A - Class Notice Page 5 of 9



    to each Class Representative’s individualized disbursements on account of the Settlement
    payments contemplated therein.2 Class Counsel’s Fees will not be deducted from the Class
    Representative Service Payments.

          Class Counsel is entitled to attorneys’ fees (“Class Counsel’s Fees”) in the amount of one-
    third (1/3) of each distribution on the Estates Distribution Payments and Cash Payment, net of
    the one-time $30,000 aggregate payment for Class Representative Service Payments. In
    addition, Class Counsel is entitled to its litigation expenses (including costs associated with the
    production and mailing of the Class Notice and the administration of the Settlement, estimated
    to be approximately $75,000) (“Class Counsel’s Expenses”). Class Counsel’s Fees and Class
    Counsel’s Expenses, as well as the Representative Service Payments, shall be paid exclusively
    by the Qualified Settlement Fund. Class Counsel’s Fees and Class Counsel’s Expenses shall be
    payment in full for Class Counsel’s work and expenses in connection with this matter.

    CLASS COUNSEL’S RECOMMENDATION AND YOUR PROJECTED RECOVERY

          Class Counsel recommends the Settlement, believing that it is fair, reasonable and adequate
    to the Class.

          The projected net dollar amount which you would receive under the Settlement (the
    “Projected Payment”), assuming that the Allowed Bankruptcy WARN and Wage Claims are
    paid in full, which may or may not occur depending on numerous factors and circumstances in
    the Bankruptcy Case, is shown on Exhibit A, hereto.

         RELEASE OF CLAIMS AND EFFECT OF APPROVAL OF SETTLEMENT
                               AGREEMENT

                 Upon the Effective Date, all Released Claims against the Released Parties,
    including any and all individual claims asserted by Class Members against the Debtors
    related to the claims set forth in the WARN Action shall be deemed satisfied and expunged,
    without need for further court order, and the Class Members agree that any Released
    Claims that have been scheduled on behalf of, or filed by, any Class Members in the
    Bankruptcy Case are disallowed in their entirety and shall be deemed expunged from the
    applicable schedule(s) or claims register(s) without need for further court order. Payment
    on account of such claims shall be limited solely to the Estates Distribution Payments and Cash
    Payment. Notwithstanding the foregoing, any Class Members’ claims, or any claims filed by
    the United States Department of Labor on their behalf, for benefits pursuant to Section
    502(a)(1)(B) of ERISA under either (1) the Blackjewel LLC 401(k) Plan or (2) the Self-Insured
    Health Plan that was in place until August 31, 2019, are not included in the scope of the Released
    Claims, as defined in the Settlement, and shall not be deemed released, satisfied or expunged by
    operation of the Settlement Agreement.

         Proofs of claim filed by individuals who choose to timely opt-out of the WARN Class shall
    be unaffected by the release contained in the Settlement.
2
 For avoidance of doubt, the Class Representative Service Payments shall have no affect on the priority amounts
available to the Class Representatives for their individualized Allowed Bankruptcy WARN and Wage Claims.

                                                       5
Case 3:19-ap-03002      Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06                Desc
                         Exhibit A - Class Notice Page 6 of 9




                           HOW TO OBJECT OR OPT-OUT

     If you are satisfied with the proposed Settlement and your projected Payment Amount
(assuming full funding of the Allowed Bankruptcy WARN and Wage Claims which may or may
not occur) as shown on Exhibit A, you need to do nothing and you will receive your share of
any distributions made from the Qualified Settlement Fund.

      If, on the other hand, you believe that the proposed Settlement is unfair or inadequate
or believe that it should not be approved, you may object by mailing, via first class U.S.
Mail, a written statement bearing the caption of this action (shown on the first page of this
Notice) with the basis for your objection, to the Clerk of the United States Bankruptcy
Court for the Southern District of West Virginia, 300 Virginia Street East, Room 2400,
Charleston, West Virginia 25301, and by sending copies of that statement, also by first
class U.S. Mail, to: 1) Mary E. Olsen, The Gardner Firm, P.C., 182 St. Francis Street, Suite
103, Mobile, Alabama 36602; and 2) Nava Hazan, Squire Patton Boggs (US) LLP, 1211
Avenue of the Americas, Floor 26th, New York, New York 10036. Objections must be
mailed so as to be received no later than February 26, 2021, and must include your name,
address, and telephone number, together with a statement of whether you wish to be heard
personally or by counsel at the final hearing at which the Parties will be requesting binding
Bankruptcy Court approval of the Settlement.

     You may also appear in person or by counsel at the final hearing described below.

     If you choose not to be bound by this Settlement and do not wish to share in any of
the benefits described herein, you may opt-out of the Class by filling out the attached “Opt-
Out Form,” and signing and mailing that form by first class U.S. Mail, to: Class Counsel,
Attn: Mary E. Olsen, Esq., The Gardner Firm, P.C., 182 St. Francis Street, Suite 103,
Mobile, Alabama 36602. The “Opt-Out Form” form must be received no later than
February 26, 2021. All requests for exclusion received after that date will not be effective,
and any person who sends a late request will be a member of the Class.

                   FINAL HEARING TO APPROVE SETTLEMENT

     The hearing for final consideration and approval of the Settlement is scheduled to take
place on March 3, 2021, at 9:30 a.m. (EDT) at the Robert C. Byrd U.S. Courthouse, 300 Virginia
Street East, Charleston, West Virginia 25301, before the Honorable Benjamin A. Kahn. That
hearing may be adjourned without further notice. If you wish to determine if the hearing is
adjourned, you may contact Mary E. Olsen at the address shown above.

                                OTHER INFORMATION

     All requests for more information, including a copy of the Settlement should be directed to
Ms. Olsen. Her contact information is as follows: Mary E. Olsen, Esq., The Gardner Firm, P.C.,
182 St. Francis Street, Suite 103 Mobile, AL 36602; email: molsen@thegardnerfirm.com;
phone: (251) 415-4978.

                                              6
Case 3:19-ap-03002       Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06              Desc
                          Exhibit A - Class Notice Page 7 of 9




       While the Bankruptcy Court has approved the sending of this Notice, it has not taken any
 position as to the respective claims or defenses asserted by the Parties in the WARN Action.

PLEASE DO NOT WRITE TO OR CALL THE COURT CONCERNING THIS MATTER




                                              7
 Case 3:19-ap-03002        Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06          Desc
                            Exhibit A - Class Notice Page 8 of 9



   David Engelbrecht, Josiah Williamson and Gregory Mefford, on their own behalf and on
 behalf of all other persons similarly situated v. Blackjewel, LLC; Adversary Proceeding No.
 19-ap-3002 and Shawn Abner, Jacob Helton and Billy Hatton individually and on behalf of
  others similarly situated v. Blackjewel, LLC, Revelation Energy, LLC, Lexington Coal Co.,
     LLC, Jeff Hoops, Sr., Jeffery A. Hoops, II, Adversary Proceeding No. 19-ap-03003



                                      OPT-OUT FORM

       I, the undersigned, have read the foregoing Settlement Class Notice and understand its
contents.

       I DO NOT want to participate in the above WARN Action and DO NOT wish to receive
any benefits from or be bound by the Settlement described herein.




SIGNATURE                                           ADDRESS


NAME (printed or typed)                             CITY, STATE and ZIP CODE


DATE                                                TELEPHONE


EMAIL ADDRESS


If you do NOT wish to participate, send this completed form to:

THE GARDNER FIRM, P.C.
182 St. Francis Street, Suite 103
Mobile, Alabama 36602
Attention: Mary E. Olsen, Esq.




                                                8
Case 3:19-ap-03002     Doc 95-1 Filed 02/24/21 Entered 02/24/21 13:06:06       Desc
                        Exhibit A - Class Notice Page 9 of 9



                                     EXHIBIT A




           «AddressBlock»




  Projected Payment After the Deduction of Service
                                                       $«____________» [priority]
 Payments, Class Counsel’s Fees, and Class Counsel’s
Expenses, and Assuming That the Allowed Bankruptcy
                                                       $«____________» [general
  WARN and Wage Claims Are Fully Funded, Which
                                                              unsecured]
   May or May Not Occur Depending on Numerous
  Factors and Circumstances in the Bankruptcy Case




                                           9
